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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

       vs                            4:07CR00308-03-WRW

MICHELLE MCBRIDE

                           CLERK'S MINUTES - CHANGE OF PLEA

       On June 5, 2008, the above named defendant appeared in person before the Honorable

Bill Wilson, United States District Judge, with Thomas Burns, counsel retained by the defendant,

and said defendant stated in open court that she desired to withdraw the plea of not guilty

heretofore entered and desired to enter a plea of guilty to Count 1 of the Indictment.

       After the defendant was duly sworn, the Court made inquiry as to guilt. The Court, being

satisfied there was a factual basis for the plea, accepted the plea of guilty and found the

defendant guilty as charged.

       WHEREUPON:

( )    The Court proceeded to pronounce sentence.

(X)    The Court postponed sentencing until Friday, October 10, 2008 at 10:45 a.m..

(X)    The defendant was allowed to remain on present bond until that time.

( )    The defendant was remanded into the custody of the U.S. Marshal until sentencing.

       Count dismissed on the motion of the AUSA: N/A

Court Reporter - C. Newburg                                                         Begin:3:06 p.m.
Courtroom Deputy - M. Johnson                                                        End:3:27 p.m.
Interpreter - N/A

Court Exhibit A - Filed Under Seal
